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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                      Case No. A16-65093-SMS
         PAULA VAN SICKLE

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       K. Edward Safir, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 08/30/2016, and was converted to chapter 13 on 04/19/2018.

         2) The plan was confirmed on 10/16/2018.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 08/05/2021.

         6) Number of months from filing to last payment: 40.

         7) Number of months case was pending: 42.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $28,500.00.

         10) Amount of unsecured claims discharged without payment: $20,693.63.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                  $63,770.00
        Less amount refunded to debtor                               $591.64

NET RECEIPTS:                                                                                        $63,178.36


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                     $3,750.00
    Court Costs                                                                   $0.00
    Trustee Expenses & Compensation                                           $4,223.80
    Other                                                                         $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $7,973.80

Attorney fees paid and disclosed by debtor:                      $500.00


Scheduled Creditors:
Creditor                                           Claim         Claim            Claim        Principal      Int.
Name                                  Class      Scheduled      Asserted         Allowed         Paid         Paid
ARNALL GOLDEN GREGORY LLP         Secured                0.00    18,938.37        18,938.37      18,938.37        0.00
CAPITAL ONE BANK (USA), N.A. BY AMERICAN
                                  UnsecuredINFOSOURC
                                                   10,152.00     10,280.00        10,280.00       5,844.93        0.00
CAPITAL ONE, N.A.                 Unsecured            376.00        355.25           355.25        201.99        0.00
GEORGIA DEPARTMENT OF REVENUE Unsecured                   NA          29.22            29.22          16.61       0.00
GEORGIA DEPARTMENT OF REVENUE Priority                   0.00        416.29           416.29        416.29        0.00
INTERNAL REVENUE SERVICE          Priority          7,841.83     10,849.89        10,849.89      10,849.89        0.00
INTERNAL REVENUE SERVICE          Unsecured               NA         713.96           713.96        405.94        0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured                 20.00         68.84            68.84          39.14       0.00
PYOD, LLC, ITS SUCCESSORS AND ASSIGNS
                                  Unsecured         7,295.00       7,460.24         7,460.24      4,241.69        0.00
PYOD, LLC, ITS SUCCESSORS AND ASSIGNS
                                  Unsecured         4,460.00       4,726.42         4,726.42      2,687.31        0.00
PYOD, LLC, ITS SUCCESSORS AND ASSIGNS
                                  Unsecured        12,394.00     12,707.62        12,707.62       7,225.21        0.00
JC Penney/SYNCB                   Unsecured              0.00           NA               NA            0.00       0.00
Breast Cancer Specialists LLC     Unsecured            405.49           NA               NA            0.00       0.00
Macy's/DSNB                       Unsecured              0.00           NA               NA            0.00       0.00
Resurgens Surgery Center, LLC     Unsecured         1,639.03            NA               NA            0.00       0.00
WELLS FARGO CARD SERVICES         Unsecured         7,391.00       7,628.20         7,628.20      4,337.19        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00             $0.00               $0.00
       Mortgage Arrearage                                      $0.00             $0.00               $0.00
       Debt Secured by Vehicle                                 $0.00             $0.00               $0.00
       All Other Secured                                  $18,938.37        $18,938.37               $0.00
 TOTAL SECURED:                                           $18,938.37        $18,938.37               $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00             $0.00               $0.00
        Domestic Support Ongoing                               $0.00             $0.00               $0.00
        All Other Priority                                $11,266.18        $11,266.18               $0.00
 TOTAL PRIORITY:                                          $11,266.18        $11,266.18               $0.00

 GENERAL UNSECURED PAYMENTS:                              $43,969.75        $25,000.01               $0.00


Disbursements:

         Expenses of Administration                             $7,973.80
         Disbursements to Creditors                            $55,204.56

TOTAL DISBURSEMENTS :                                                                       $63,178.36


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/20/2021                             By: /s/ K. Edward Safir
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                         )      CHAPTER 13
PAULA VAN SICKLE                               )
                                               )      CASE NO. A16-65093-SMS
                                               )
DEBTOR                                         )

                                CERTIFICATE OF SERVICE

This is to Certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Final Report and Account by depositing in the United States Mail a copy of same in
a properly addressed envelope with adequate postage thereon.

   PAULA VAN SICKLE
   115 PINEY HILL TRACE
   ALPHARETTA, GA 30022

I further certify that I have on this day electronically filed the pleading using the Bankruptcy
Court's Electronic Filing program, which sends a notice of this document and an accompanying
link to this document to the following parties who have appeared in this case under the
Bankruptcy Court's Electronic Case Filing program:

   JEFF FIELD & ASSOCIATES

DATED: 10/20/2021                                                       /S/
                                                    K. Edward Safir, Chapter 13 Trustee
                                                    State Bar No. 622149
                                                    285 Peachtree Center Ave
                                                    Suite 1600
                                                    Atlanta, GA 30303-1229
                                                    (404) 525-1110
                                                    eds@atlch13tt.com




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